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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILL[NOIS
                                  EASTERN DIVISION

 RUFUS LOVELL BROOKS,

                        Plaintiff,
                                                     Case No. 18-cv-03472
        V.

                                                     Judge Edmund E. Chang
 SAC WIRELESS, LLC,                                  Magistrate Judge Michael T. Mason

                        Defendant.

                       JOINT DEPOSITION SCHEDULING REPORT

       Defendant SAC Wireless, LLC and Plaintiff, Rufus Lovell Brooks (collectively, the

"Parties"), for their Joint Deposition Scheduling Report pursuant to this Court's January 16, 2019

Order (Dkt. No. 30), state as follows:

       On January 1 8, 20 1 9, the Parties confirmed the scheduling of depositions for Jeff Hamm,

Wanda Rodriguez, Kevin Pope, and Rufus Brooks as follows:

       1.    JeffHamm; February 21, 2019 at 12:00 p.m.

       2. Kevin Pope; February 21, 2019 at 4:00 p.m.

       3. Wanda Rodriguez; February 22, 2019 at 9:00 a.m.

       4. Rufus Brooks; February 22, 2019 at 1:00 p.m.

       The aforementioned depositions will take place in Chicago, Illinois at the office of

Thompson Coburn. The Parties anticipate that the aforementioned depositions will be completed

as scheduled.

                                             Respectfully submitted,

                                             SAC WIRELESS, LLC


                                             By: /s/ Ryan J. Gehbauer
                                                    One ofDefendant's Attorneys
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                                             RUFUS LOVELL BROOKS

                                             s/Rufus Lovell Brooks




                                CERTIFICATE OF SERVICE


         I hereby certify that on February 20, 2019, I electronically filed the foregoing Joint

Deposition Scheduling Report with the clerk ofthe court for the Northern District oflllinois, using

the electronic case filing system ofthe court. Plaintiffhas also been served via U.S. Mail and by

email.

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                                              /s/Ryan J. Gehbauer



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